Case 2:08-cr-00151     Document 202   Filed 04/26/11   Page 1 of 3 PageID #: 1531



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON

LORENE CANTERBURY,

           Movant


v.                                            CIVIL ACTION NOS. 2:10-1305
                                                                2:10-1346
                                              (Criminal No. 2:08-00151-01)

UNITED STATES OF AMERICA,

           Respondent


                        MEMORANDUM OPINION AND ORDER


           This action was previously referred to the Honorable

Mary E. Stanley, United States Magistrate Judge, for submission

to the court of her Proposed Findings and Recommendation (“PF&R”)

for disposition pursuant to 28 U.S.C. § 636.


           On December 9, 2008, the United States filed a two-

count superseding indictment naming movant.             Count One charged

her with conspiring to knowingly and intentionally distribute 5

kilograms or more of cocaine, in violation of 21 U.S.C. § 846.

Count Two charged a conspiracy to conduct financial transactions

affecting interstate commerce involving the proceeds of specified

unlawful activity, a violation of 18 U.S.C. § 1956(h).                On May

14, 2009, movant pled guilty to both counts.
Case 2:08-cr-00151   Document 202   Filed 04/26/11   Page 2 of 3 PageID #: 1532



           On August 27, 2009, the presiding district judge

entered Judgment.     Movant was, inter alia, committed to the

custody of the United States Bureau of Prisons for a total term

of 162 months, to be followed by a five-year term of supervised

release.   Movant did not appeal.        Her conviction became final on

September 14, 2009.


           On February 15, 2011, the magistrate judge filed her

proposed findings and recommendation (“PF&R”).            The PF&R

adequately explains the procedural history of movant’s two

petitions for postconviction relief that are presently before the

court.   The magistrate judge recommends that movant’s two

petitions be construed as motions pursuant to 28 U.S.C. § 2255.

So construed, the magistrate judge further recommends that the

motions be denied as untimely pursuant to the limitations bar

found in section 2255.     The magistrate judge additionally

observes that movant is not, in any event, entitled to relief

based upon Skilling v. United States, ––– U.S. ––––, ––––, 130 S.

Ct. 2896, 2907 (2010).     On March 7, 2011, movant objected.


           Movant’s objections do not counter the magistrate

judge’s well reasoned discussion respecting the limitations bar




                                     2
Case 2:08-cr-00151   Document 202   Filed 04/26/11   Page 3 of 3 PageID #: 1533



and the inapplicability of Skilling.1         The court, accordingly,

concludes that movant’s objections lack merit.


           Based upon a de novo review, and having found the

objections meritless, the court adopts and incorporates herein

the magistrate judge’s PF&R.        The court, accordingly, ORDERS that

these actions be, and they hereby are, dismissed.


           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

United States Magistrate Judge.


                                          DATED: April 26, 2011


                                          John T. Copenhaver, Jr.
                                          United States District Judge




     1
      Movant additionally appears to rely upon the plurality
decision in United States v. Santos, 553 U.S. 507 (2008). In
Santos, four Justices concluded that the term “proceeds” in the
federal money-laundering statute, 18 U.S.C. § 1956(a)(1), means
“profits” from the venture and not its “receipts.” Id. at 2025.
Inasmuch as movant fails to explain how Santos applies to her
case, her objection lacks substantive merit irrespective of the
limitations bar.

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